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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
Securities and Exchange Commission,
                           Plaintiff,                                  17 CIVIL 3613 (JPO)

                 -against-                                               JUDGMENT
James Im,
                                   Defendant.
------------------------------------------------------------X



        It is hereby ORDERED, ADJUDGED AND DECREED: That after a Jury

Trial before the Honorable J. Paul Oetken, United States District Judge, the jury having returned

a verdict in favor of Defendant, and the Complaint is hereby dismissed.


DATED: New York, New York
       May 9,2022


                                                                      RUBY J. KRAJICK

So Ordered:                                                            Clerk of Court

                                                                BY:

    U.S.D.J.
